       Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 1 of 14



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

CASSANDRA FAIRBANKS, an individual,   )
                                      )
               Plaintiff,             )
                                      )
      v.                              )
                                      )     Civil Action No.: 1:17-cv-01052
EMMA ROLLER, an individual,           )
                                      )
               Defendant.             )
                                      )
                                      )
                                      )
                                      )
                                      )

 PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO
              DISMISS PLAINTIFF’S AMENDED COMPLAINT
             Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 2 of 14




                                                   TABLE OF CONTENTS


PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO

DISMISS PLAINTIFF’S AMENDED COMPLAINT ................................................................... 3


ARGUMENT .................................................................................................................................. 4

I.    Standards Applicable: Liberal Construction in Favor of Plaintiff ........................................... 4

        A.     The Twin Lies Were Libel ............................................................................................. 4

                1.     The Jury Knows Exactly What “White Power” Means Just As the Lie About the

                Anti-Defamation League Is What the ADL Said It Was: False.................................... 5

        B.     The Twin Lies Were So Inflammatory, They Were Defamation Per Se ....................... 8

        C.       Plaintiff Sufficiently Pled Actual Malice: Circumstantial Evidence Abounds of the

        Defendant’s Complete Reckless Disregard of the Truth and Actual Malevolence ............. 10


CONCLUSION ............................................................................................................................. 12




                                                                           i
           Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 3 of 14



                                            TABLE OF AUTHORITIES

          Cases

Ark. Pub. Emples. Ret. Sys. v. Harman Int’l Indus. Inc., 791 F.3d 90, 99-100 (D.C. Cir. 2015) ... 4

Armstrong v. Thompson, 80 A.3d 177 (D.C. 2013). ....................................................................... 6

Barrick Gold Corp. v. Lopehandia, 2004 WL 1178529 (Ont. C.A. 2004). .................................... 8

Beeton v. District of Columbia, 779 A.2d 918, 923 (D.C. 2001) ................................................... 5

Buckley v. Littell, 539 F.2d 882 (2nd Cir. 1976)............................................................................. 9

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Harte-Hanks Communications, Inc. v. Connaughton, 491 U.S. 657 (1989) ................................ 10

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McFarlane v. Sheridan Square Press, Inc. 91 F.3d 1501, 1510 (D.C. Cir. 1996) ....................... 11

Messina v. Fontana, 260 F. Supp. 2d 173, 176-177 (D.D.C. 2003) ............................................... 4

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Moldea v. New York Times Co., 15 F.3d 1137, 1142 (D.C. Circ. 1994) ........................................ 5

S. Air Transp., Inc. v. Am. Broadcasting Co., Inc. 877 F.2d 1010, 1014 (D.C. Cir. 1989) ........ 4, 5

St. Amant v. Thompson, 390 U.S.727, 731-732 (1968) ................................................................ 11

Tavoulareas v. Piro, 817 F.2d 762, 795 (D.C. Cir. 1987) (en banc) ............................................ 10

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Wilbanks v. Wolk, 121 Cal. App. 4th 883, 904 (2004) .................................................................... 7

Rules

Federal Rule of Civil Procedure 12(b)(6) ....................................................................................... 4




                                                                     ii
        Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 4 of 14



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CASSANDRA FAIRBANKS, an individual,             )
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    PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO
                 DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendant told two defamatory falsehoods about the Plaintiff: first, that the Plaintiff

flashed a "white power" gesture from the media room at the White House; and second, that the

Anti-Defamation league confirmed the gesture used by Plaintiff was a "white power" gesture.

Defendant does not even deign to pretend what she said was true about plaintiff. Instead; Defendant

claims she doesn't know what the term "white power" means, that nobody else has any idea what

the term "white power" 1 means, and that white power is such an innocent, innocuous, ambiguous,

ambivalent term, no jury could possible think “white power” gesture could have any possible

defamatory meaning.




1
 Courts do not seem to have the same difficulty determining what “White Power” means,
explicitly and implicitly. “here, the jury reasonably could infer from the evidence” racial animus
based on “white supremacy” words. People v. Lindberg., 45 Cal. 4th 1 (2008) at 78.



                                                    3
         Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 5 of 14



       Of note, Defendant pretends she never made the statement about the Anti-Defamation

League, another complete inflammatory falsehood she cannot defend.

       As the fall-back position, Defendant argues the malice prong of the defamation claim. In

this defense, Defendant claims she couldn't possibly have intended to lie about the plaintiff, and

could not have acted recklessly about the falsity of her statements. At this Rule 12 stage of the

case, the Amended Complaint provides more than sufficient allegations that a juror could conclude

the statements made were defamatory. The First Amendment is not a license to lie.

                                           ARGUMENT

       I.   Standards Applicable: Liberal Construction in Favor of Plaintiff

       Defendant seeks to have Plaintiff’s First Amended Complaint dismissed in its entirety

pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim actionable for

defamation. On a motion to dismiss under F.R.C.P. 12(b)(6), the court must assume the truth of

all well-pleaded factual allegations in the complaint and draw all reasonable inferences from those

allegations in the plaintiff’s favor. See Ark. Pub. Emples. Ret. Sys. v. Harman Int’l Indus. Inc.,

791 F.3d 90, 99-100 (D.C. Cir. 2015). In defamation cases, that means any statement that could be

defamatory suffices, even if other interpretations could apply. See S. Air Transp., Inc. v. Am.

Broadcasting Co., Inc. 877 F.2d 1010, 1014 (D.C. Cir. 1989).

            A.    The Twin Falsehoods Were Libel

       A plaintiff who is a public figure, or who is a limited-purpose public figure, establishes a

claim for libel if the plaintiff can show (1) that the defendant made a defamatory statement

concerning the plaintiff; (2) that the statement was published without privilege; (3) that the

defendant published the statement with actual malice; and (4) either that the statement was

actionable as a matter of law irrespective of special harm or that its publication caused the plaintiff

special harm. See Messina v. Fontana, 260 F. Supp. 2d 173, 176-177 (D.D.C. 2003); see also



                                                      4
        Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 6 of 14



Beeton v. District of Columbia, 779 A.2d 918, 923 (D.C. 2001). If a defendant seeks to dismiss a

defamation claim on the ground that the statement was not defamatory, the Court is to assess

whether the challenged statement could reasonably be interpreted to be defamatory as the plaintiff

alleged. At this stage, the question is not whether third-parties actually understood the statement

as defamatory, but whether third-parties could have. See Moldea v. New York Times Co., 15 F.3d

1137, 1142 (D.C. Circ. 1994) (“[T]he defamatory meaning inquiry focuses only on whether a

reasonable reader could understand a statement as tending to injure a plaintiff’s reputation.”) A

court that concludes that a challenged statement could reasonably be understood as defamatory

must permit the defamation claim to move past the pleading for dismissal even if the court

concludes that the challenged statement could so be reasonably understood as non-defamatory.

See S. Air Transp., Inc. v. Am. Broadcasting Co., Inc. 877 F.2d 1010, 1014 (D.C. Cir. 1989). If it

appears that the challenged statement is at least capable of a defamatory meaning, then whether

the statement is defamatory and false are questions of fact to be resolved by the jury. Wallace v.

Skadden, Arps, Slate, Meagher, & Flon, 715 A.2d 873, 878 (1998).

       Defendant asserts two arguments against plaintiff’s pleading of its defamation claim: (1)

that the defamatory statements are mere “opinion” and therefore non-actionable, and (2) that

plaintiff is a First Amendment “public figure” who did not sufficiently plead “actual malice” to

successfully pleads its claim. Both arguments fail.

                   1.   The Jury Can Determine What “White Power” Means Just As the

                   Falsehood About the Anti-Defamation League Is What the ADL Said It

                   Was: False

       A defamatory statement is no less of libel even if couched in terms of an “opinion.” The

Supreme Court made that clear nearly three decades ago. See Milkovich v. Lorain Journal Co.,




                                                      5
         Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 7 of 14



497 U.S. 1 (1990); Armstrong v. Thompson, 80 A.3d 177 (D.C. 2013). In Milkovich v. Lorain

Journal Co., 497 U.S. 1 (1990), the Supreme Court rejected a bright-line rule stating it never

intended “to create a wholesale defamation exemption for anything that might be labeled

‘opinion.”” Id. at 18. The Court explained that “simply couching such statements in terms of

opinion does not dispel [the false, defamatory] implications” because a speaker may still imply “a

knowledge of facts which lead to the [defamatory] conclusion.” Id. at 19. (see also, White v.

Fraternal Order of Police, 285 U.S. App. D.C. 273 (D.C. Cir. 1990) (“even with a per se opinion,

the question is whether the person has made an assertion that can reasonably be understood as

implying provable facts.” In Milkovich, the Court determined accusing someone else of lying was

defamation, since it is the kind of issue jurors and judges often determine. In the same vein, racial

animus is a question jurors and judges determine every day across the country, and an allegation

of it is a question a jury can answer just like the Anti-Defamation League answered here. The

statements are verifiably false, and were knowingly, verifiably false at the time.

       First, Defendant’s argument that the defamatory statement is “indefinite and ambiguous”

holds no weight. If someone called us a “white power gesture” advocate, would any of us be

confused as to what it means? “White power gesture” is a definitive statement. As the ADL quickly

concluded about the defendant’s claim: it was false.

       Second, Defendant’s first Twitter message stating plaintiff was “doing a ‘white power’

gesture in the White House” was followed by a reference link to prove what the ADL was

considering to be a white power gesture. This is not mere opinion or hyperbole. Unlike in Parsi

v. Daioleslam, 890 F. Supp. 2d 77, 85 (D.D.C. 2012) (in which the Court found that there were no

citations in the defendant journalist’s defamatory paragraph so that it was clear that the defendant

was making a logical argument not a factual assertion), the Defendant here followed her original




                                                       6
          Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 8 of 14



Tweet with a citation to the ADL website. Defendant attempted to bolster her argument that

Plaintiff was “doing a white power hand gesture” by linking to the ADL website, demonstrating

the accuracy of her statement. However, when the ADL issued a statement that “the one handed

‘OK’ symbol alone is not a signal indicating white supremacy” 2 Defendant tried to claim that the

symbol is so ambiguous, it is unable to be part of a defamation action.

         Third, Defendant ignores the fact that the identity of the speaker influences the reader’s

interpretation of a statement and whether a statement seeks to assert the truth. “An accusation that,

if made by a layperson, might constitute opinion may be understood to be based on fact if made

by someone with specialized knowledge of the industry. Wilbanks v. Wolk, 121 Cal. App. 4th 883,

904 (2004). Here, Defendant did not make the statement anonymously or separate from her

position as a senior politics reporter. Her Tweet was picked up by major news outlets and was

shared, not as opinion, but as a fact stated by a senior politics reporter. 3

       Fourth, and finally, there is no magical Twitter exception to lies and libel. Defendant tries to

argue that Twitter is a “forum well known for the pithy exchange of opinions,” (Motion at 17);

that argument ignores the reach of the internet. Defamation over the Internet differs significantly

from defamation in other mediums simply because of the vast audience and almost instantaneous

exposure. “The mode and extent of publication is particularly relevant in the Internet context and




2
     No, the ‘OK’ Gesture Is Not a Hate Symbol, ADL Blog (May 1, 2017),
    https://www.adl.org/blog/no-the-ok-gesture-is-not-a-hate-symbol.
3
    Emily Shugerman, The Independent. Two members of alt-right accused of making white
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    2017),     http://www.independent.co.uk/news/world/americas/us-politics/white-power-hand-
    symbol-cassandra-fairbanks-mike-cernovich-alt-right-white-house-a7709446.html.




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           Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 9 of 14



must be considered carefully...Its impersonal and anonymous nature can create a greater risk that

defamatory remarks are believed.” Barrick Gold Corp. v. Lopehandia, 2004 WL 1178529 (Ont.

C.A. 2004). Twitter’s Annual Report states “[T]he reach of Twitter content is not limited to our

logged-in users on the Twitter platform, but rather extends to a larger global audience. The public

nature of the Twitter platform allows us and others to extend the reach of Twitter content beyond

our properties.” 4 Although Defendant tries to claim that Twitter is “a forum well known for the

pithy exchange of ideas” (Motion at 17), Twitter itself claims that “many of the world’s most

trusted media outlets, including the BBC, CNN...regularly use Twitter as a platform for content

distribution. 5 In fact, it has become the home for official statements of the President. 6 Again,

Twitter itself supports the idea that Twitter goes beyond a forum for quick, off-the-cuff statements

of opinion.

          B.   The Twin Falsehoods are So Inflammatory, They are Defamation Per Se.

          The Defendant told two defamatory falsehoods; she only talks about the first of the two in

her Motion to Dismiss. The Defendant claimed the Plaintiff flashed a "white power gesture" from

the White House media room while at the White House on invitation as a journalist, on a media

credential. The second lie, told in connection to the first lie and to affirm the first lie, was that the

Anti-Defamation League specifically identified the gesture used by the Plaintiff was a "white




4
         Twitter.        (2017).      Form        10-K      2017.          Retrieved    from
    https://investor.twitterinc.com/secfiling.cfm?filingID=1564590-17-2584&CIK=1418091.
5
    Id.
6
    Andrew Blake, DOJ: Trump’s tweets are ‘official statements of the President’, Washington
    Times (November 14, 2017), https://www.washingtontimes.com/news/2017/nov/14/doj-donald-
    trump-tweets-are-official-statements-of/.




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        Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 10 of 14



power" gesture. We know whether both claims are too "ambiguous" to ascertain their truth: the

ADL itself called both "false."

       What did Defendant do when her falsehoods were exposed, even though they had spread

around the world in other publications relying upon her reputation to spread them? Did she retract?

Did she apologize? No.

       Like the ADL, a jury can render the same decision: the statements of the Defendant were

false. Indeed, jurors and judges are asked to make that decision every day in courts—whether a

person has a "white power" or white "supremacist" ideology; they decide the issue of racial animus

in discriminatory intent cases, in hate crime cases, and many others where the issue of racial

animus of a particular kind of a question of fact for the jury. Additionally, the very specific nature

of both claims—that the gesture used by the Plaintiff was a "white power" gesture; and that the

ADL identified it as a white power gesture on their website—were both factual claims clearly

capable of defamatory meaning, the relevant standard at this stage of pleading.

       The “white power gesture” claim was defamatory per se. Alleging specific racist beliefs

and use of specific racist gestures – like calling someone KKK -- is actionable. Forte v. Jones,

No. 11-cv-0718, 2013 WL 1164929 at *6 (E.D. Cal. Mar. 20, 2013). Any jury can readily perceive

such an accusation and innuendo as a claim “susceptible to proof or disproof of falsity.” Buckley

v. Littell, 539 F.2d 882 (2nd Cir. 1976). The context of these accusations by the Defendant




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          Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 11 of 14



reinforce that, as she referenced this in the context of accusing the plaintiff of white nationalism, 7

comprised of new neo-Nazis. 8 9 White Power was a term coined by George Lincoln Rockwell, the

founder of the American Nazi Party 10. Further, the news media, including the international news,

understood the Tweet to be a reflection of white supremacist values. 11

          C.   Plaintiff Sufficiently Pled Actual Malice: Circumstantial Evidence Abounds of

the Defendant’s Complete Reckless Disregard of the Truth and Actual Malevolence

          Courts allow plaintiffs to prove actual malice by relying on circumstantial evidence, as it

is unlikely that one making a defamatory statement would freely admit their wrongful intentions.

See Tavoulareas v. Piro, 817 F.2d 762, 795 (D.C. Cir. 1987) (en banc) (“[A] plaintiff may prove

the defendant’s subjective state of mind through the cumulation of circumstantial evidence, as well

as through direct evidence.”) See also Harte-Hanks Communications, Inc. v. Connaughton, 491

U.S. 657 (1989). For instance, awareness of probable falsity can be found if the defendant

“entertained serious doubts as to the truth of his publication” or based the story on some other

source that the defendant had “obvious reasons to doubt the veracity of the informant or the




7
    Liam Stack, Alt-Right, Alt-Left, Antifa: A Glossary of Extremist Language, The New York Times
    (August     15,    2017),     https://www.nytimes.com/2017/08/15/us/politics/alt-left-alt-right-
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     What is ‘white supremacy’? A brief history of a term and a movement, that continues to haunt
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     Two Alt-right Members Accused Of Flashing White Power Sign at White House, Haaretz (April
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           Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 12 of 14



accuracy of his reports.” St. Amant v. Thompson, 390 U.S.727, 731-732 (1968); see also Herbert

v. Lando, 441 U.S. 153, 156 (1979). “If a defendant has reason to doubt the veracity of its source,

then its failure to examine evidence within easy reach or to make obvious contacts in an effort to

confirm a story would be evidence of its reckless disregard.” McFarlane v. Sheridan Square Press,

Inc. 91 F.3d 1501, 1510 (D.C. Cir. 1996). A deliberate decision to avoid information that might

prove the story false demonstrates reckless disregard. Connaughton, 491 U.S. at 692 (“it was

likely that the newspaper’s inaction was a product of a deliberate decision not to acquire

knowledge of facts that might confirm the probable falsity of charges...”). Here, Defendant, a

journalist, did not perform simple research, but rather attacked the character of, and falsely

accused, the Plaintiff, based on nothing other than faulty information. Information that could have

been proven false by a quick online search. 12 The circumstances surrounding (1) Defendant’s

knowledge that the gesture was not in fact a white power gesture; (2) Defendant’s ignorance to

perform at minimum, any sort of due diligence that would demonstrate ethical reporting; and, (3)

Defendant’s motive to make out a plausible claim of malice that Plaintiff, who is entitled to all

favorable inferences, must be allowed to attempt to prove.

          That alone suffices, but more is present here: both specific intent to spread smears about

competitor journalists politically disfavored by the defendant and a complete failure to issue a

single correction or retraction, the latter recently recited in a district court’s decision in Palin vs.

New York Times, as important in assessing actual malice.




12
     “Memes and misinformation spread more rapidly online than anywhere else. We must apply
     the same standards of verification as we would to any other source.” Jim Romenesko, Bloomberg
     policy: ‘Ask questions first.              Tweet later’, Poynter (April 27, 2011),
     https://www.poynter.org/2011/bloomberg-policy-ask-questions-first-tweet-later/129734/.




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         Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 13 of 14



        The defendant bragged about her intention to spread fake news in order to advance her

political agenda, continues a campaign of smears before and after smearing the plaintiff, and her

complete absence of a correction or retraction or apology is the best evidence of her malevolent

purpose and malignant intent in spreading these inflammatory, reputation-destroying lies about the

plaintiff.

        She lied. She knew she lied. She refused to apologize or correct her lie. She caused real

injury with her lie. She keeps lying. And now she wants this court to immunize her for her lies.

Lies intended to suppress, censor and shame the speech rights of the plaintiff. That is what neither

the First Amendment nor federal rules of procedure permit or prescribe. Being a professional

journalist means a higher standard of truth-telling, not a license to lie. The law has always so held.

Let the law here so reflect.

                                          CONCLUSION

        For the foregoing reasons, Plaintiff requests the Court to deny Defendant’s Motion to

Dismiss.


DATED: December 6, 2017                               Respectfully submitted,
                                                      Cassandra Fairbanks
                                                      By Counsel
                                                      /s/ Robert E. Barnes
                                                      Robert E. Barnes, Esq.
                                                      BARNES LAW
                                                      601 South Figueroa Street, Suite 4050
                                                      Los Angeles, California 90017
                                                      Telephone: (310) 510-6211
                                                      Facsimile: (310) 510-6225
                                                      E-mail: robertbarnes@barneslawllp.com

                                                      /s/ Daniel D. Mauler
                                                      Daniel D. Mauler (D.C. Bar No. 977757)
                                                      REDMON, PEYTON & BRASWELL, LLP
                                                      510 King Street, Suite 301
                                                      Alexandria, Virginia 22314




                                                     12
       Case 1:17-cv-01052-TNM Document 15 Filed 12/06/17 Page 14 of 14



                                                   703-684-2000 (Tel)
                                                   703-684-5109 (Fax)
                                                   dmauler@rpb-law.com

                                                   Counsel for Plaintiff Cassandra Fairbanks




                                    CERTIFICATE OF SERVICE



                     I hereby certify that on this 6th day of December 2017, I caused a true and

correct copy of the foregoing motion to be served via the Court’s ECF system upon counsel for

the Defendant.




                                                                                         /s/
                                                   Daniel D. Mauler
                                                   Daniel D. Mauler (D.C. Bar No. 977757)
                                                   REDMON, PEYTON & BRASWELL, LLP
                                                   510 King Street, Suite 301
                                                   Alexandria, Virginia 22314
                                                   703-684-2000 (Tel)
                                                   703-684-5109 (Fax)
                                                   dmauler@rpb-law.com

                                                   Counsel for Plaintiff Cassandra Fairbanks




                                                  13
